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COMM|SS|ON, ) l
)
Plainfiff, ) ClVlL ACT|ON NO.
' )
v. ) 04-2426-0 v
)
AJAY THEATERS, LLC )
dib/a HOLLYWOOD 20 ClNEMA, )
)
Defendant. )

 

ORDER EXTEND|NG THE TlME PER|OD FOR PLA|NTlFF'S RESPONSE
TO DEFENDANT’S MOT|ONS FOR PART|AL SUMMARY JUDGMENT

 

Plaintiff has filed a motion requesting an extension until June 10, 2005 of the time
period for Piaintiff to respond to the six motions for partial summaryjudgment Which have
been filed by Defendant in this lawsuit

For good cause shown, P|aintiff’s motion is granted P|aintiff Will be allowed until
June 10, 2005 to respond to Defendant’s six motions for partial summary judgment This

extension will not affect any of the other deadlines, or the trial setting, in this case.

so oRoEREDthiS 371 day or fz&¢gf ,2005.

RN|CE B. DONALD
U.S. DlSTR|CT JUDGE

This document entered on the docket heat in compliance /
with ama sa and/or rs(ai FncP on 12 g 115

 

June 2, 2005 to the parties listed.

Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in
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Honorable Berniee Donald
US DISTRICT COURT

